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                           UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF OKLAHOMA

INRE:

Richard Louis Retherford                                 Case No. 09- 10996-      M
                                 Debtor                  Chapter 7


Atlas Telephone Company, et aI.

                                 Plaintiffs
                                                         Adversary No. 09- 01059-


Richard Louis Retherford
                                 Defendant.

              ANSWER OF DEFENDANT RICHARD LOUIS RETHERFORD

        COMES NOW the Defendant ,              Richard Louis Retherford          Defendant" ),   and for his


Answer to the Adversary Complaint of the Plaintiffs states as follows , to-wit:

                Defendant admits the allegations set forth in paragraphs 1 , 2 and 24 of                   the

Adversary Complaint.

                With respect to the allegations set forth in paragraphs 3 , 4 , 5 , 6, 7 ,   10 , 11 , 12 , 13


  , 18 , 19, 22 , 23 , 25 , 26 , 27 , 28 ,   29 and 30 of the   Adversary Complaint ,      Defendant has

insuffcient knowledge to either admit or deny the same and therefore                  denies the same and


requires strict proof thereof.

                With respect to the allegations set forth in paragraph 8 , Defendant admits that he

was paid substantial sums of money in professional fees pursuant to a contract and the agreement

of the Plaintiffs. Defendant denies the remaining allegations in paragraph

                With respect to the allegations set forth in paragraph 9 , Defendant admits that

from time to time he gave advice to Atlas with respect to various matters and had authority                 to




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write checks for Oak Creek Trust and ATC. However , Defendant has insuffcient knowledge to

either admit or deny the remaining allegations in paragraph 9.

               With respect to the allegations set forth in paragraph 15 , Defendant admits that

there was a transfer of shares of common stock of Atlas Telephone Company represented by the

named certificates to the ownership of Oak Creek Holdings , Inc. , but denies that he improperly

induced such conduct by the Plaintiffs.

               With respect to the allegations set forth in paragraph 16 , Defendant admits that

there was a loan from Arest     Bank and   that he was involved in the negotiation    of said loan.


Defendant denies the remaining allegations set forth in paragraph 16.

               With respect to the allegations set forth in paragraph 17 , Defendant admits that in

connection with the loan there was a pledge of      stock as security for the loan , but denies the


remaining allegations of paragraph 17.

               With respect to the allegations set forth in paragraph 20 , Defendant admits that he

had no personal ownership in the Atlas pledged stock prior to and at the time of the Commercial

Loan documents ,   but denies the remaining allegations of paragraph 20.

               With respect to the allegations set forth in paragraph 21 , Defendant admits that

the Plaintiffs fied a civil action in District Court for Craig County as described in that paragraph

and that claims for relief were    fied which were        inclusive of the claims set forth herein.

Defendant denies that a judgment was rendered        against him for $3    500 000. 00. Defendant

admits that no appeal was ever fied but because the Plaintiffs failed to mail him a copy of the

judgment and certify the mailing in District Court, his appeal time has not          begun to run.

Defendant denies the remaining allegations of paragraph 21.




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                                          Affrmative Defenses

                The Plaintiff,   Atlas   Telephone Company, Inc. , is not the real party in interest

herein.

                The Adversary Complaint fails to state claims upon which relief can be granted.

                The alleged claims and damages of the Plaintiffs , if any, are barred or otherwise

limited pursuant to the applicable statute of limitations.

                The Plaintiffs ' alleged claims and damages , if any, are barred by the doctrine of

collateral estoppel.

                The Plaintiffs ' alleged claims and damages , if any, were either as a result of their

own actions or the omissions of third parties which conduct bars the Plaintiffs from recovery

against the Defendant.

                The Plaintiffs ' alleged claims and damages , if any, were proximately caused by

the negligence and/or fault of other parties and/or non- parties over whom Defendant had no right

of control , which negligence and/or fault bars Plaintiffs ' claims against the Defendant.

                The Plaintiffs ' alleged claims and damages ,    if any, are barred and reduced by
their assumption of risk.

                The Plaintiffs '   alleged claims and damages , if any, were the        result of an
intervening or superseding cause over which the Defendant had no right of control.

                The Plaintiffs ' alleged claims and damages , if any, are barred or otherwise limited

pursuant to the doctrine of unclean hands.

          10.   The Plaintiffs ' alleged claims and damages , if any, are barred or otherwise limited

pursuant to the doctrine of estoppel.




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       11.     The Defendant reserves the right to raise such further and additional defenses as

may be available upon the facts to be developed through further investigation and discovery.

       WHREFORE , Defendant prays that the Plaintiffs take nothing by virtue of their claims

and that Defendant be awarded his costs and fees and such other and further relief as may be

equitable , premises considered.


                                            Respectfully submitted



                                            s/ Kenneth M. Smith
                                            Kenneth M. Smith
                                            OK Bar Number: 8374
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                                            Tulsa , Oklahoma 74135- 2906
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                                   CERTIFICA TE OF SERVICE

       I hereby   certify that on August 17 , 2009 , I electronically transmitted the Answer of
Defendant Richard Louis Retherford to the Clerk of Court using the ECF System for fiing and
transmittal of a Notice of Electronic Filing to the following ECF registrants:

       Mark A. Craige
       mark law-offce. com
       Attorney for Plaintiffs


                                            s/ Kenneth M. Smith
                                            Kenneth M. Smith
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